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UNITED STATES DISTRICT COURT l
FOR THE WESTERN DISTRICT OF TENNESSEE 05 A[]G 3 l PH 32 53

 

WESTERN DIVIsIoN
CLERK,» U_~$ __WSTRMCGUHI
UNITES STATES oF AMERICA, W,fi? ~.:‘) xi lewis
Plaintiff,
v. Cr. No. 04-20501-D
ANToNIo sTACKER,
Defendant.

 

ORDER GRANTING DEFENDANT’S
MOTION TO CONTINUE TRIAL

 

For good cause shown, and without objection from the government, the trial in this matter

currently Set for Wednesday, Septernber 7, 2005 is hereby CONTINUED to the next trial rotation

docket er until &Q@_/_MEQ'_M_, 2005.

It is so ORDERED, this the,f[ day of @ FM , 2005.

 

U ED STATES DISTRICT COURT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:04-CR-20501 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

